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UNITED STATES DISTRICT COURT

 

 

CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION
TRACI WOLBERT, ) CASE NO.: SACV16-00009 JLS (DFMX)
)
Plaintiff, ) [Assigned to the Hon. Josephine L. Staton,
) Courtrm. 10A]
VS. )
)
QUALITY SYSTEMS, INC. NEXTGEN ) MEMORANDUM OF POINTS AND
HEALTHCARE INFORMATION ) AUTHORITIES IN FURTHER
SYSTEMS, and DOES 1 through 10, ) SUPPORT ()F DEFENDANTS’
INCLUSIVE, ) MOTION TO TRANSFER VENUE
)
Defendants. )
) Hearing Date: April 1, 2016
) Time: 2:30 p.m
) Courtroom: 1021
)
)
) Comp1aint Filed: December 3, 2015
Trial Date: August 8, 2017
/ / /
CV-8:15~cv~00550-JLS-RNB 1 MEMORANDUM OF POINTS AND

AUTHORITIES IN FURTHER SUPPORT OF
DEFENDANTS’ MGTION TO TRANSFER

 

 

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I. INTRODUCTION

PlaintifPs argument is essentially that Defendants have not demonstrated that the
Eastern District of Pennsylvania is a “more convenient forum” than the Central District
of California. At the outset, Defendants reiterate that Plaintiff has lived in Pennsylvania
since 2007 and currently lives less than two miles from the Eastern District of
Pennsylvania courthouse in Philadelphia, PA. Plaintiff` s argument that the Central
District of California -~ located nearly 3,000 miles away -- is “more convenient” than a
courthouse located literally down the street from her residence defies logic and screams
of forum shopping Nevertheless, Plaintiff cites the following factors against transfer: (i)
Plaintiff Will be unable to subpoena “crucial third-party Witnesses” to testify at trial in the
Eastern District of Pennsylvania; (ii) California has a greater interest in the case; and (iii)
the Eastern District of Pennsylvania is more congested than the Central District of
California.l Opp. Memo at 1-2. These arguments are unpersuasive
II. ARGUMENT

A. The location of potential third-party Witnesses is not critical in this case.

Plaintiff’ s primary argument is that there are five third-party Witnesses in California

Whose trial testimony cannot be compelled by the Eastern District of Pennsylvania Opp.

 

1Plaintiff makes two additional arguments Which Defendants respectfull suggest require
no further discussion First, as predicted, Plaintiff argues that her emp oyment contract
contains a choice of law provision mandating that California law Will govern “all
employment distputes.” See Op£y. Br. at 13-14. Second, Plaintiff ar ues that the Centr_al
District of Cali ornia is more amiliar With California laW, Which laintiff argues Will
apply to her claims against Defendants. See Id. Defendants’ arguments on thes_e issues
Were fully discussed in Defendants’ Moving Brief and are incorporated herein. See
Movz`ng Bl". at 14, fn. 8 & 15.

 

 

CV~S:lS-cv-OO§SO-JLS-RNB 2 MEMORANDUM OF POINTS AND
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Br. at 9.2 First, Plaintiff’ s Rule 26 Initial Disclosures list 23 potential witnesses, eleven
of which appear to be third-party witnesses Declaration ofAna’rew D. La Fz`ura (“La
Fz`ura Dec. ”), Exhibit 1. Yet, in her Opposition, Plaintiff has chosen only to highlight the
five third party witnesses who happen to live in California While Defendants do not
concede that all of these individuals possess relevant, discoverable information, it is
disingenuous for Plaintiff to Serve a list of 23 witnesses and then claim that only the five
who happen to live in California are important to her case.

Second, according to Plaintiff, only four of the five third-party California
witnesses, namely, Benjamin Mehling, Matthias Wagener, Sheldon Razin and Vicky
Hewlett are actually “material” to this matter. Opp. Br. ar 9. Mr. Mehling and Mr.
Wagener have been totally cooperative to date and l\/lr. Mehling has already provided an
affidavit detailing his knowledge of the case. See Movz`ng Br. at 12. Moreover, both Mr.
l\/lehling and l\/lr. Wagener have now provided sworn affidavits to appear for trial in
Philadelphia if necessary. La Fz`um Dec., EXh. 2 & 3 (Affidavits of M,. Benjamin
Mehling and l\/Iatthias Wagener). 3

With respect to the other “material” witnesses, Mr. Razin is QSI’s former
Chairman of the Board and has no personal knowledge about this matter. Defendants
will seek a protective order on his behalf should his testimony be sought in any forum.

Meanwhile, l\/ls. Hewlett is a former human resources employee who left Defendants’

 

2 Plaintiff_a§pears to _concede that there will be no issue compelling deposition testimony
for any thir party witnesses, regardless of where they reside and regardless of where the
case is venue .

3 Defendants reserve the right to object to Mr. Wagener as a trial witness

 

 

CV-S:lS-cv-OOSSO-JLS-RNB 3 MEMORANDUM OF POINTS AND
AUTHORITIES IN FURTHER SUPPORT OF
DEFENDANTS’ MOTION TO TRANSFER

 

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employment in l\/lay 2012, approximately nineteen months before any of the alleged
harassment at issue in this case, and over two and a half years prior to Plaintiffs
termination She clearly has no discoverable or relevant information and Defendants
intend to object to her as a trial witness as well.

ln sum, Plaintiff’ s concern on this issue seems misguided. She has identified four
California witnesses beyond the trial subpoena power of the Eastern District of
Pennsylvania Two of them have no discoverable and/or relevant information and will be
the subject of motions for protective orders and/or motions in limine The other two
have sworn, on penalty of perjury, to appear in Philadelphia for trial if necessary.

B. The Eastern District of Pennsylvania is clearly more convenient for all of
the Witnesses.

Plaintiff’ s Opposition focuses almost exclusively on the Couit’s ability to compel
third-party Witnesses to appear at trial. But this is only part of the analysis, and it
assumes that some of the third-party witnesses will refuse to appear at trial without Court
intervention The Court also needs to consider the actual convenience of the witnesses
who will, eventually, need to appear for depositions and at trial. Again, the Court need
only look at Plaintiff” s Initial Disclosures to determine that the Eastern District is more

convenient ln addition to herself, Plaintiff lists the following witnesses:

 

 

0 Alicia Carden (North Carolina) 0 Terri Chaniberlain (l\/lissouri)

0 Vicky Hewlett (California) 0 Tonia Rockwell (California)

v Christie Guthrie (Texas) 0 Cheri Eplion (Indiana)

0 Donna Greene (California) 0 Ricki Morgan (Oklahoma)
CV-S:lS-cv-OOSSO-JLS-RNB 4 MEMGRANDUM OF POlNTS AND

AUTHORITIES IN FURTHER SUPPORT OF
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0 Robert Hale (Georgia) 0 Nancy Murphy (Pennsylvania)
¢ Mike Lovett (Pennsylvania) ¢ Steven Puckett (Florida)

0 Dan Morefield (California) ¢ Diana Spengel (New Jersey)

0 Robert Murry (New Jersey) 0 Andrew Seymour (Georgia)

0 Andrew Seymour (Georgia) 0 Gary Voydanoff (Indiana)

0 Dawn Sowash (Pennsylvania) 0 Matthias Wagener (California)
0 Ben Mehling (Califoinia) 0 Sheldon Razin (California)

See La Fiura Dec., EXh. 1. Only seven of these 22 witnesses live in California.
Meanwhile, nearly double that number (13) live in or considerably closer to
Pennsylvania4 Again, this is the list of witnesses provided by Plaz`ntifj§ not Defendants

C. California does not have a greater interest in this case.

ln support of her argument that California has a greater interest in this case,
Plaintiff claims that California is where (i) the Defendants are incorporated and have their
principle places of business; (ii) she suffered her retaliatory demotion; (iii) the
investigation of her complaint occurred and; (iv) the decision was made to terminate her
employment Opp. Br. at 11.

While Defendants might be based in California and the actual decision to terminate
Plaintiff and/or allegedly demote her may have been made in California, there is no
dispute that Plaintiff was living and working in Pennsylvania when these events occurred.

This fact is far more important to the venue analysis. See e.g. Hawkes v. Hewlett-Packarcl

 

4 Ms. Guthrie (TeXas) and l\/Is. l\/lorgan (Oklahoma) are practically equal distance from
California and Pennsylvania

 

 

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Company, 2012 U.S.Dist. LEXIS 19026, **15-16 (N.D. Cal. Feb. 15, 2012) (the fact that
Defendant maintained its headquarters in California and possibly made adverse
employment decisions in California did not provide California with a greater interest than
Virginia, which Was where Plaintiff lived and worked during the course of her
employment.); Gelber v. Leonarcl Wood Memorz`al et al., 2007 U.S. Dist. LEXIS 47535
(N.D. Cal. June 21, 2007) (where Plaintiff lived and worked from his home in California,
holding that California still had a greater local interest than South Carolina despite the
fact that decision to terminate Plaintiff was made at Defendant’s headquarters in South
Carolina). ln addition, Plaintiff fails to acknowledge that Defendant NextGen maintains
an operation in Pennsylvania that employs well over 500 people, one of which was
Plaintiff herself. Clearly then, this controversy is not just about “Californians at
California companies” as alleged by Plaintiff, but concerns a Pennsylvania resident
(Plaintiff) and an employer with substantial operations and employees in Pennsylvania
Opp. Br. at ]3.

Finally, Plaintiff is simply incorrect with respect to the sexual harassment
investigation While Plaintiff` s initial interview was in California on November 6, her
second interview occurred over Skype on December 22 while she was presumably in
Pennsylvania As discussed in Defendants’ l\/loving Brief, of the 27 total interviews
conducted, only eight of them were in-person interviews held in California In contrast,

seven of the interviews were conducted in Pennsylvania by Mr. Wagener’s Philadelphia

 

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based colleague and ten of them were conducted remotely over the intemet or telephone
Moving Br. at 4.

D. The Central District of California is a more congested docket.

Finally, Plaintiff focuses on the duration of cases in the Eastern District of
Pennsylvania in arguing that it is more congested than the Central District of California.
Plaintiff is correct that the average duration from the initial filing to trial date in the
Eastern District is longer than in the Central District. According to the Judiciary’s
“Explanation of Teims,” however, this statistic only considers the age and length of
filings that actually go to trial ~ it does not take into account the vast number of cases that
settle before trial. See La Fiura Dec., Exh. 4. The more important statistic is the length
of time between filing and disposition, which is actually slightly shorter in the Eastern
District of Pennsylvania Icl.

ln the end, Plaintiff does not, nor can she, dispute that the Central District of
California has approximately 4,000 more pending cases than the Eastern District of
Pennsylvania. Nor does Plaintiff appear to dispute that the judgeships in the Central
District have more standard filings, weighted filings and pending cases than the Eastern
District of Pennsylvania These are the most relevant statistics and they unquestionably
demonstrate that the Central District of California is more congested than the Eastern

District of Pennsylvania

 

 

CV~S:lS-cv-OOSSO-JLS-RNB 7 MEMORANDUM OF PC)INTS AND
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III. CONCLUSION

For all of these reasons, Defendants believe that they have satisfied their burden of
demonstrating that the Eastern District of Pennsylvania is a more convenient forum than
the Central District of California, and hereby renew their request that this matter be

transferred to the Eastern District of Pennsylvania pursuant to 28 U.S.C. §1404(a).

Dated: March 18, 2016 JACKSON LEWIS P.C.

By: /s/Andrew D. La Fz`um
Andrew D. La Fiura

Attorneys for Defendants

QUALITY SYSTEl\/IS, INC. and NEXTGEN
HEALTHCARE INFORMATION SYSTEMS,
LLC

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CV-S:l§-cv-OOSSO-JLS-RNB 8 MEMORANDUl\/l OF POlNTS AND
AUTHORITIES IN FURTHER SUPPORT OF
DEFENDANTS’ MOTION TO TRANSFER

 

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Case 8:16-cv-00009-DF|\/| Document 26 Filed 03/18/16 Page 9 of 10 Page |D #:397

CERTIFICATE OF SERVICE
UNITEI) STATES DISTRICT C()URT, CENTRAL DISTRICT OF CALIFORNIA
CASE NAME: TRACl WOLBERT vs. QUALITY SYSTEMS, INC., ET AL.
CASE NUMBER: CV-S:lS-cv-OOSSO-JLS-RNB

l am employed in the County of PHILADELPHIA, Commonwealth of
Pennsylvania 1 am over the age of 18 and not a party to the within action; my business
address is Three Parkway, 1601 Cherry Street, Suite 1350, Philadelphia, PA 19102.

 

On March 18, 2016, 1 served following document(s) described as:

MEMORANDUM ()F POINTS AND AUTHORITIES IN FURTHER SUPPORT
OF DEFENDANTS’ MOTION TO TRANSFER VENUE

on the parties in this action listed below in the manner designated below:

PLEASE SEE ATTACHED SERVICE LIST

BY NOTICE OF ELECTRONIC FILING. The above-listed counsel have
consented to electronic service and have been automatically served by the Notice of
Electronic Filing, which is automatically generated by CM/ECF at the time said
document Was filed, and which constitutes service pursuant to FRCP 5(b)(2)(D).

FEDERAL. I declare under penalty of perjury under the laws of the
Commonwealth of Pennsylvania and the United States that the foregoing is true and
correct, and that l am employed in the office of a member of the bar of this Court at
Whose direction the service was made.

Executed on March 18, 2016, at Philadelphia, Pe sylvania.
;f\ f
l
Alndrew D. La Fiura

 

 

 

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